                           Case 2:19-cv-00537-DBB Document 1 Filed 07/29/19 PageID.1 Page 1 of 1
JS 44 (Rev. 02/19)                                                               CIVIL COVER SHEET
The .IS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF' THIS FORM.)
    I. (a) PLAINTIFFS                                                                                                     DEFENDANTS
    AIMEE DANSIE                                                                                                         MATT NIELSON AND RON JENSEN AND CLEAR PATHWAYS
                                                                                                                         RESIDENTIAL (RECOVERY LIFESTYLE CENTER) LLC.1

         (b) County of Residence of First Listed Plaintiff                 Salt Lake                                       County of Residence of First Listed Defendant
                                                                                                                                                                                                                Salt Lake
                                    (EXCEPT IN U.S. PLAINTIFF' CASES)                                                                                   (IN U.S. PLAIN'/1F'F' CASES ONLY)
                                                                                                                           NOTE:            TN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                            THE TRACT OF LAND INVOLVED.

      (C) Attorneys (Firm Name, Address, and Telephone Number)                                                              Attorneys (/j' Known)
    Greg. Smith
    5600 S 111 E ste 104
    Murray UT 84107

    II. BASIS OF JURISDICTION (Place an "X" in one Box Only)                                              III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an                                                             "X" in one Boxf'or PlainriJJ
                                                                                                                       (For Diversity Cases Only)                                                             and One Boxjor Dejendanl)
D I         U.S. Government                   i>$ 3 Federal Question                                                                             PTF                  DEF                                                     PTF       DEF
               Plaintiff                              (U.S. Governmenr Not a Party)                              Citizen of This State           ~ I                  ~ I                Incorporated or Principal Place       0 4      0 4
                                                                                                                                                                                           of Business In This State

rJ 2        U.S. Government                   D 4   Diversity                                                    Citizen of Another State                0 2           0       2         Incorporated and Principal Place         0 5     D 5
               Defendant                             (lndica/e Cilizenship of Parries in Item If!)                                                                                          of Business In Another State

                                                                                                                 Citizen or Subject of a                 0 3           0       3         Foreign Nation                           0 6     0 6
                                                                                                                   Forci n Count1
    IV, NATURE OF SUIT (Place an "X" in One Box Only)                                                                                                                    Click here for· Nature of Suit Code Descriptions"
t              CONTRACT                                                TORTS                         ..    •.·
                                                                                                                     FOR11Eil'flfl1Ell'ENAL'f'f,.                        .llANimID"rcv                                OTHER STATUTES              I
D 11 0 Insurance                               PERSONAL INJURY                PERSONAL INJURY                    0 625 Drng Related Seizure                     o 422 Appeal 28 use 158                          0 375 False Claims Act
0        120 Marine                       0    310 Airplane                 0 365 Personal Injury -                    of Property 21 USC 881                   0 423 Withdrawal                                 0 376 Qui Tam (31 USC
0        130 Miller Act                   0    315 Airplane Product               Product Liability              0 690 Other                                          28 use 157                                       3729(a))
0        140 Negotiable lnstrnment                  Liability               0 367 Health Care/                                                                                                                   0 400 State Reapportionment
0        150 Recovery of Overpayment      0    320 Assault, Libel &               Phannaceuticol                                                                                     1   ·v   1~:11_,.;H   ·x    0 410 Antitrust
             & Enforcement of Judgment              Slander                       Personal Injury                                                               0 820 Copyrights                                 0 430 Banks and Banking
0        151 Medicare Act                 0    330 Federal Employers'             Product Liability                                                             0 830 Patent                                     0 450 Commerce
0        152 Recove1y of Defaulted                  Liability               0 368 Asbestos Personal                                                             0 835 Patent - Abbreviated                       D 460 Deportation
             Stmlent Loans                0    340 Marine                          lnju1y Product                                                                     New Drug Application                       0 470 Racketeer lnnuenced and
             (Excludes Veterans)          0    345 Marine Product                 Liability                                                                     n 840 Trademark                                        Cormpt Organizatiom;
    rJ   153 Recovery of Overpayment                Liability                PERSONAL PROPERTY                                     .A.HTlll,I'                      .... f-lf'IA.l   ..:j                        D 480 Consumer Credit
             of Veteran's Ilene Ats       0    350 Motor Vehicle            0 370 Other Fraud                    111' 710 Fair Labor Standards                  0 861 HIA (1395ff)                               0 485 Telephone Consumer
CJ       160 Stockholders' Suits          0    355 Motor Vehicle            D 371 Trnth in Lending                         Act                                  0 862 Black Lung (923)                                 Protection Act
0        190 Other Contract                        Product Liability        0 380 Other Personal                 0   720 Labor/Management                       0 863 DIWC/DIWW (405(g))                         0 490 Cable/Sat TV
D        195 Contract Product Liability   0    360 Other Personal                 Property Damage                          Relations                            o 864 ssrn Title xvr                             0 850 Securities/Commodities/
0        196 Franchise                             lnju1y                   0 385 Property Damage                0   740 Railway Labor Act                      0 865 RSI (405(g))                                     Exchange
                                          0    362 Personal l1tjmy -              Product Liability              0   75 I Family and Medical                                                                     0 890 Other Stanito1y Actions
                                                   Medical Malpractice                                                     Leave Act                                                                             0 891 Agricultural Acts
I            REAL l'ROPERTY                      CIVIL RIGHTS                 PRISONER PETITIONS                 D   790 Other Labor Litigation                   FEDERAL TAX SUITS                              0 893 Environmental Matters
CJ 210 Land Condemnation                  0 440 Other Civil Rights              Habeas Corpus:                   0   791 Employee Retirement                    0 870 Taxes (U.S. Plaintiff                      0 895 Freedom of Information
0 220 Foreclosure                         D 441 Voting                       0 463 Alien Detainee                         Income Security Act                         or Defendant)                                    Act
D 230 Rent Lease & Ejectment              D 442 Employment                   0 510 Motions to Vacate                                                            0 871 IRS-Third Party                            0 896 Arbitration
0 240 Torts to Land                       0 443 Housing/                           Sentence                                                                           26 USC 7609                                0 899 Administrative Procedure
rJ 245 Tori Product Liability                   Accommodations               0 530 General                                                                                                                             Act/Review or Appeal of
0 290 All Other Real Property             0 445 Amer. w/Disabilities -       0 535 Death Penalty                       IMMIGE:ATJON.                                                                                   Agency Decision
                                                Employment                     Other:                            0 462 Naturalization Application                                                                0 950 Constitutionality of
                                          0 446 Amer. "{/Disabilities -      0 540 Mandamus & Other              0 465 Other Immigration                                                                               State Statutes
                                                Other                        0 550 Civil Rights                        Actions
                                          0 448 Education                    D 555 Prison Condition
                                                                             0 560 Civil Detainee -
                                                                                   Conditions of
                                                                                   Confinement
    V. ORIGIN           (Placean "X"inOneBoxOnly)
12'( I Original               0 2 Removed from                  0      3    Remanded from                 0 4 Reinstated or               0 5 Transferred from                           0 6 Multidistrict                0 8 Multidistrict
            Proceeding             State Court                              Appellate Court                   Reopened                        Another District                               Litigation -                     Litigation -
                                                                                                                                                   (specijj>)                                Transfer                         Direct File
                                                 Cfi:$1,ll; U.S. Civil Statute under which you are filing (Do             1101   clte/111'/sdlctlonal statutes unless diversity):
                                               1-------------------------------------
    VI. CAUSE OF ACTION Brief description of cause:

    VII. REQUESTED IN     0 CHECK IF THIS IS A CLASS ACTION                                                          DEMAND$                                                     CHECK YES only if demanded in complaint:
         COMPLAINT:          UNDER RULE 23, F.R.Cv,P.                                                                                                                            JURY DEMAND:         )I<( Yes   ONo
    VIII. RELATED CASE(S)
                           (See instructions):
          IF ANY                               JUDGE                                                                                                                DOCKET NUMBER
    DATE                                                                       SIGNATURE or ATTORNEY OF RECOR"
    07-29-2019                                                                Gregory B Smith
    FOR OFFICE USE ONLY
                                                                                                                                                 Case: 2: 19-cv-00537
         RECEIPT#                   AMOUNT                                         APPLYING IFP
                                                                                                                                                 Assigned To: Furse, Evelyn J.
                                                                                                                                                 Assign. Date : 07/29/2019
                                                                                                                                                 Description: Dansie v. Nielson et al
